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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                                       10/19/2020
                                                                       :
L.O and N.B., individually and on behalf of P.O.,                      :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :   20-CV-3180 (JPC)
                  -v-                                                  :
                                                                       :     NOTICE OF
NEW YORK CITY DEPARTMENT OF EDUCATION, :                                   REASSIGNMENT
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. The Initial Pretrial Conference (“IPTC”) scheduled for November 12, 2020, at

9:30 a.m. shall take place as scheduled. In light of the ongoing COVID-19 pandemic, the Court

will conduct the IPTC by teleconference. At the scheduled time, counsel for all parties should call

(866) 434-5269, access code 9176261. Absent leave of Court obtained by letter-motion filed before

the conference, all pretrial conferences must be attended by the attorney who will serve as principal

trial counsel.

        It is further ORDERED that the parties shall submit a joint letter of no more than five pages

by November 5, 2020 addressing the following in separate paragraphs: (1) a brief description of

the case, including the factual and legal bases for the claim(s) and defense(s); (2) any contemplated

motions; (3) the basis for subject matter jurisdiction; and (4) the prospect for settlement. By that

date, the parties shall also submit to the Court a proposed case management plan and scheduling

order, a template of which is available at https://www.nysd.uscourts.gov/hon-john-p-cronan.

        In accordance with the Court’s Individual Rules and Practices for Civil Cases, requests for
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extensions or adjournment may be made only by letter-motion filed on ECF and must be received

at least 48 hours (i.e., two business days) before the deadline or scheduled appearance, absent

compelling circumstances. The written submission must state (1) the original date(s) set for the

appearance or deadline(s) and the new date(s) requested; (2) the reason(s) for the request; (3) the

number of previous requests for adjournment or extension; (4) whether these previous requests

were granted or denied; and (5) whether opposing counsel consents, and, if not, the reasons given

by opposing counsel for refusing to consent.

       SO ORDERED.

Dated: October 19, 2020                             __________________________________
       New York, New York                                    JOHN P. CRONAN
                                                           United States District Judge




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